Case 2:04-cv-02728-.]DB-dkv Document 19 Filed 07/01/05 Page 1 of 4 Page|D 32

UNITED STATES DISTRICT CoURT i==....;;:=» %@5
WESTERN DIsTRICT oF TENNEssEE ` ` "'
05 1 _ .

JAMES BAILEY, KEVIN BRoGDoN, JU` l PH fz` 3[‘
MARTY ELLIs, AUTUMN GARRETT,
PHILLIP GLENN, TERRY JANDA,
MICHAEL KISSELL, GREG MILLs,
ERIC NEWMAN, CHAD NICHoLs,
DANNY PARKER, JAMES
TETTLETON and GENE YOUNG,
individually and on behalf of all persons
similarly situated

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PLAINTIFFS, CIVIL ACTION NO. l-04--]-l-5-',1

V.

LAUDERDALE COUNTY
AMBULANCE AUTHORITY and
LAUDERDALE COUNTY
GOVERNMENT,

DEFENDANT S .

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MD ORDER MODIFYING SCHEDULING ORDER

 

Before the Court is the parties’ Joint Motion for modification of this Court’s
Scheduling Order. For good cause shown, this Court’s Scheduling Order of November
16, 2004, is modified as follows:

l. The deadline for completing all discovery is moved from June 27, 2005, to

July 27, 2005.

 
 
 

Th!s document entered on the dockets . =
Wi`th H\.!Fo 58 and/or 79(al FP.CP on

Case 2:04-cv-02728-.]DB-dkv Document 19 Filed 07/01/05 Page 2 of 4 Page|D 33
2. The deadline for filing depositive motions is moved from July 25 , 2005, to

August 19, 2005.

m . /V
F.'Da'mei"Bi-een- \`»me. K. l/€Sc'aué
United States D-istriot Judge
ma?is%nf~ €

Date: /, 07'¢'9 bd

 

Case 2:04-cv-02728-.]DB-dkv Document 19 Filed 07/01/05 Page 3 of 4 Page|D 34

APPROVED FOR ENTRY

 

Kim KorarMmBPR# 20163)
WYATT, TARRANT & CoMBs, LLP

1715 Aaron Brenner Drive, Suite 800
Memphis, Tennessee 38120-4367
Phone: 901.537.1000

Fax: 901-537-1010

Mitzi D. Wyrick

WYATT, TAR_RANT & COMBS, LLP
Citizens Plaza, 500 West Jefferson Street,
Louisville, Kentucky 40202-2398

Phone: (502) 5 89-5235

Fax: (502) 589-0309

Counsel for Lauderdale County Ambulance
Authority and lauderdale County
Government

ames R. Becker, Jr. (TNBPR#016532)
Crone & Mason, PLC
5100 Poplar Ave., Suite 3200
Memphis, TN 38137
Phone: (901) 683-1850
Fax: (901) 683-1963
Counsel for Plaintiffs

514897.1

 

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This notice confirms a copy of the document docketed as number 19 in
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ESSEE

 

Mitzi D. Wyricl<

WYATT TARRANT & COl\/[BS
500 West Jefferson St.
Louisville, KY 40202--289

Kim Koratsl<y

WYATT TARRANT & COl\/[BS
P.O. Box 775000

l\/iemphis7 TN 38177--500

J ames R. Becker

CRONE & MASON, PLC
5100 Poplar Ave.

Ste. 3200

l\/lemphis7 TN 38137

Honorable J. Breen
US DISTRICT COURT

